Case 2:21-cv-04920-WLH-ADS     Document 223-1    Filed 11/30/22     Page 1 of 49 Page
                                    ID #:3723


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 12                        UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
 14
      SERENA FLEITES,                           CASE NO. 2:21-CV-04920-CJC-ADS
 15
                 Plaintiff,                     Judicial Officer:   Autumn D. Spaeth
 16
           v.
 17                                             JOINT STIPULATION
    MINDGEEK S.A.R.L.; MG                       ACCOMPANYING MOTION BY
 18 FREESITES, LTD; MINDGEEK USA                MINDGEEK ENTITY
                                                DEFENDANTS TO COMPEL
 19 INCORPORATED; MG PREMIUM                    PLAINTIFF’S RESPONSES TO
    LTD.; MG GLOBAL                             INTERROGATORIES AND
 20                                             REQUESTS FOR PRODUCTION
    ENTERTAINMENT INC.; 9219-5618               OF DOCUMENTS
 21 QUEBEC INC.; BERND BERGMAIR;
    FERAS ANTOON; DAVID                         Hearing:   December 21, 2022: 10:00
 22                                             Courtroom: 6B
    TASSILLO; COREY URMAN; VISA
 23 INC.; COLBECK CAPITAL DOES 1-               Jurisdictional Discovery Deadline:
    5; BERGMAIR DOES 1-5                        December 30, 2022
 24
 25           Defendants.
 26
 27
 28

                                                                 CASE NO. 2:21-cv-04920
                      MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS               Document 223-1            Filed 11/30/22         Page 2 of 49 Page
                                              ID #:3724


   1                                         TABLE OF CONTENTS
   2                                                                                                               Page
   3 I.       PRELIMINARY STATEMENTS.................................................................... 1
   4          A.  MindGeek Entity Defendants’ Preliminary Statement .......................... 1
              B.  Plaintiff’s Preliminary Statement ........................................................... 3
   5 II.      GENERAL ISSUES AND OBJECTIONS ...................................................... 6
   6          A.  MindGeek Entities’ Position .................................................................. 6
   7          B.  Plaintiff’s Position................................................................................ 12
       III.   INTERROGATORIES AND RESPONSES AT ISSUE ............................... 14
   8          A.  Interrogatory No. 2 ............................................................................... 14
   9          B.  Interrogatory No. 3 ............................................................................... 16
 10           C.  Interrogatory No. 4 ............................................................................... 18
              D.  Interrogatory No. 5 ............................................................................... 20
 11           E.  Interrogatory No. 6 ............................................................................... 21
 12           F.  Interrogatory No. 8 ............................................................................... 22
 13           G.  Interrogatory No. 10 ............................................................................. 24
              H.  Interrogatory No. 11 ............................................................................. 25
 14           I.  Interrogatory No. 12 ............................................................................. 27
 15           J.  Interrogatory No. 13 ............................................................................. 28
 16 IV.       DOCUMENTS REQUESTS AND RESPONSES AT ISSUE ...................... 29
              A.  Request No. 1 ....................................................................................... 29
 17           B.  Request No. 2 ....................................................................................... 30
 18           C.  Request No. 3 ....................................................................................... 32
 19           D.  Request No. 4 ....................................................................................... 33
              E.  Request No. 5 ....................................................................................... 35
 20           F.  Request No. 6 ....................................................................................... 37
 21           G.  Request No. 7 ....................................................................................... 38
 22           H.  Request No. 8 ....................................................................................... 40
              I.  Request No. 9 ....................................................................................... 41
 23           J.  Request No. 10 ..................................................................................... 42
 24           K.  Request No. 11 ..................................................................................... 43
 25 V.        CONCLUSIONS ............................................................................................ 45
              A.  MindGeek Entity Defendants’ Conclusion .......................................... 45
 26           B.  Plaintiff’s Conclusion .......................................................................... 45
 27
 28

                                                  ii                    CASE NO. 2:21-cv-04920
                             MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS     Document 223-1     Filed 11/30/22   Page 3 of 49 Page
                                    ID #:3725


   1                               JOINT STIPULATION
   2        Pursuant to Federal Rule of Civil Procedure 37, Local Civil Rule 37-2, and
   3 United States Magistrate Judge Autumn D. Spaeth’s July 2018 Standing Order on
   4 Discovery Disputes, and following counsel’s meet and confer efforts, Defendants
   5 MindGeek S.à.r.l., MG Freesites Ltd, MindGeek USA Inc., MG Premium Ltd, MG
   6 Global Entertainment Inc., and 9219-5618 Quebec Inc. (collectively “MindGeek
   7 Entities”), and Plaintiff Serena Fleites respectfully submit the following Joint
   8 Stipulation related to the Motion by MindGeek Entity Defendants to Compel
   9 Plaintiff’s Responses to Interrogatories and Requests for Production of Documents.
 10 In accordance with L.R. 7-3 and 37-1, counsel for the Parties met and conferred by
 11 telephone on November 14, 2022 prior to the filing of this motion.
 12 I.      PRELIMINARY STATEMENTS
 13         A.    MindGeek Entity Defendants’ Preliminary Statement
 14         Plaintiff has not responded to the MindGeek Entities’ jurisdictional discovery
 15 requests in any meaningful way. On September 19, 2022, the MindGeek Entities
 16 served their First Set of Interrogatories to Plaintiff Related to Personal Jurisdiction
 17 (the “Interrogatories”) (attached as Ex. A) and First Request for Production of
 18 Documents to Plaintiff Related to Personal Jurisdiction (“RFPs”) (attached as Ex. B).
 19 On the evening of October 17, 2022, two days before the responses were due,
 20 Plaintiff’s counsel e-mailed the MindGeek Entities and requested a two-week
 21 extension for service of their Interrogatory Responses. Decl. of Christopher R.
 22 Boisvert (“Boisvert Decl.”), ¶3 (attached as Ex. C). Although there was limited time
 23 remaining in the jurisdictional discovery period, in the interest of cooperation, the
 24 MindGeek Entities consented to the proposed extension. Id. On October 19, 2022,
 25 Plaintiff served objections and responses to the RFPs indicating that certain limited
 26 documents would be produced (though far less than what was requested), but did not
 27 produce any documents at that time. See Pl.’s Responses and Objections to Def’t
 28 MindGeek Entities’ First Req. for Prod. of Docs. to Pl. Related to Personal

                                            1                     CASE NO. 2:21-cv-04920
                       MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 4 of 49 Page
                                     ID #:3726


   1 Jurisdiction (attached as Ex. D). On November 1, 2022, the MindGeek Entities sent
   2 a letter to Plaintiff detailing the deficiencies in her responses and requesting a Rule
   3 37-1 conference. Letter from Kathleen N. Massey to Michael J. Bowe (Nov. 1, 2022)
   4 (attached as Ex. E). Plaintiff has never responded in writing to this letter. Boisvert
   5 Decl. ¶ 4.
   6        On November 2, 2022, Plaintiff served her responses to the Interrogatories.
   7 Pl.’s Responses and Objections to MindGeek Entities’ First Set of Interrogatories to
   8 Pl. Related to Personal Jurisdiction (attached as Ex. F). To the MindGeek Entities’
   9 surprise given Plaintiff’s request for an extension of time to respond to the
 10 Interrogatories, Plaintiff failed to provide any substantive response to twelve of the
 11 thirteen interrogatories and provided only a partial response to the thirteenth. Id.
 12 Since the extension was clearly not used to prepare substantive responses to the
 13 Interrogatories, it appears in hindsight that Plaintiff’s request for an extension of time
 14 was merely an effort to run the clock on jurisdictional discovery and obstruct
 15 Defendants’ discovery efforts.
 16         The MindGeek Entities sent a second letter to Plaintiff addressing her deficient
 17 responses to the Interrogatories and again requesting a Rule 37-1 conference. Letter
 18 from Kathleen N. Massey to Michael J. Bowe (Nov. 7, 2022) (attached as Ex. G).
 19 Two days later, counsel for the MindGeek Entities reached out to Plaintiff’s counsel
 20 via e-mail to schedule a meet and confer conference to address Plaintiff’s deficient
 21 discovery responses. The Parties eventually agreed to a telephonic conference on
 22 November 14, 2022. Boisvert Decl. ¶ 6.
 23         Less than an hour before the meet and confer, Plaintiff sent a letter indicating
 24 that they intended to stand on the responses and objections in full, and asserted that
 25 Defendants were improperly seeking “merits” discovery. Letter from Michael J.
 26 Bowe to Kathleen N. Massey (Nov. 14, 2022) (attached as Ex. H). During the
 27 subsequent call, counsel for the MindGeek Entities repeatedly asked Plaintiff’s
 28 counsel to explain why Plaintiff believed the MindGeek Entities’ requests did not

                                             2                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS       Document 223-1      Filed 11/30/22   Page 5 of 49 Page
                                      ID #:3727


   1 pertain to personal jurisdiction. Boisvert Decl. ¶ 8. Plaintiff’s counsel refused to
   2 provide an explanation and instead asserted that they were dissatisfied with the
   3 MindGeek Entities’ discovery responses to date. Id. As of the time the MindGeek
   4 Entities’ portion of this Joint Stipulation was sent to Plaintiff, Plaintiff had failed to
   5 amend her responses. Boisvert Decl. ¶ 9. Moreover, even though the MindGeek
   6 Entities served their requests over two months ago, as of the time of service she has
   7 still not produced a single document in response to Defendants’ requests. Id. By
   8 contrast the MindGeek Entities have produced hundreds of documents totaling over
   9 3000 pages and are continuing to provide more as they become available. Id. There
 10 is no justification for this delay and documents responsive to the RFPs must be
 11 produced immediately.         Given Plaintiff’s total refusal to fulfill her discovery
 12 obligations, this Motion to Compel is necessary.
 13          B.    Plaintiff’s Preliminary Statement
 14          On July 29, 2022 this Court issued an order “[d]irecting the MindGeek
 15 Defendants to Submit to Jurisdictional Discovery” and outlined the precise categories
 16 of information it deemed relevant to evaluate whether the Court may exercise
 17 jurisdiction over MindGeek S.A.R.L., MG Premium Ltd., and the individual
 18 defendants. Dkt. 167. Notably, the information sought by the Court concerns facts
 19 known only to Defendants, including: the direct and indirect ownership of Pornhub
 20 and the other MindGeek websites that hosted and monetized Plaintiff’s child sexual
 21 abuse materials (“CSAM”); the entities and individuals that exercise operational
 22 control of the tubesites, as well as the overall policies governing them; “where the
 23 money flows in the MindGeek web”; the services provided by and between the
 24 MindGeek Entities; the control exercised by the various MindGeek Entities and
 25 Individuals; the percentage of Pornhub users located in the United States; the
 26 MindGeek websites Plaintiff’s CSAM was distributed to; and the location of servers
 27 maintained by Defendants. Id.
 28          Despite the Court’s explicit directives (and their own patent refusal to produce

                                             3                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS          Document 223-1         Filed 11/30/22      Page 6 of 49 Page
                                         ID #:3728


   1 broad categories of plainly relevant documents on the putative basis that it constitutes
   2 premature merits discovery), defendants have served more than two dozen discovery
   3 requests on Plaintiffs seeking information that has absolutely no relevance to the
   4 Court’s jurisdictional analysis over the two objecting MindGeek entities and which
   5 include categories of documents that Defendants themselves have objected to produce
   6 on the putative basis that it is not relevant to the Court’s jurisdictional analysis.1 Thus,
   7 for example, defendants’ requests seek Plaintiffs’ communications about the creation
   8 of her CSAM, its upload to Pornhub, and her efforts to have it take down (RFP Nos.
   9 3, 10; ROG Nos. 5, 7), even though defendants have refused to produce any of their
 10 own internal communications about these same topics in response to Plaintiff’s
 11 requests. (See, e.g., J. Doyle Decl., Ex. 2, Resp. Nos. 1, 8, 29.) More egregiously,
 12 defendants’ requests seek detailed information about the creation of Plaintiffs’
 13 CSAM, the individuals involved, and the injuries, illness, physical, psychological,
 14 emotional, financial, employment, and/or reputational conditions Plaintiff has
 15 suffered as a result. See, e.g., ROG Nos. 8, 10; see also (seeking ROG Nos. 1, 2
 16 (requesting every home address for Plaintiff and any email address or online handle
 17 used by Plaintiff at any time). Not only are these requests entirely improper at this
 18 stage, it is consistent with the gamesmanship Defendants have engaged in for years
 19 to conceal their own wrongdoing by discrediting their victims. Their thinly veiled
 20 effort to get a head start on preparing their defense to Plaintiff’s claims should be
 21 rejected.
 22          Defendants’ attempt to shift the burden to Plaintiff to provide information so
 23 that Defendants can comply with their discovery obligations is likewise improper and
 24 has not basis in law. “The case law is clear . . . that a party responding to a Rule 34
 25 production request is under an affirmative duty to seek that information reasonably
 26 available to it from its employees, agents, or others subject to its control.” Apple Hill
 27
      1
             Simultaneous with the filing of this motion, Plaintiff will be filing a separate motion
 28 seeking to compel defendants’ discovery responses.

                                               4                     CASE NO. 2:21-cv-04920
                          MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS          Document 223-1        Filed 11/30/22     Page 7 of 49 Page
                                         ID #:3729


   1 Growers v. El Dorado Orchards, Inc., No. 2:17-cv-02085-TLNCKD, 2022 WL
   2 1506205, at *11 (E.D. CA May 12, 2022) (citations omitted). Even where “plaintiff
   3 is unable to identify the exact documents that would have [the information sought by
   4 plaintiff], that does not excuse defendant of its obligation to make a good faith effort
   5 to search for and locate responsive documents.” Salinas v. The Cornwell Quality
   6 Tools Company, et al., No. 19-cv-2275-FLA (SPx), 2021 WL 4913279, at *4 (C.D.
   7 Cal. Jan. 22, 2021); see also Trujillo v. Princess Cruise Lines, Ltd., No. 20-cv7451-
   8 JWH (PVCx), 2021 WL 3604518, at *6 (C.D. Cal. Apr. 23, 2021) (stating that a
   9 responding party is “required to conduct a ‘reasonable search’ for responsive
 10 documents.”). Moreover, placing a burden on Plaintiff to provide with specificity
 11 how Defendants might search for documents is also improper because “the burden
 12 does not fall on plaintiff to learn whether, how and where defendant keeps relevant
 13 documents.” Newill v. Campbell Transp. Co., Inc., No. 2:12-cv-1344, 2013 WL
 14 6002349, at *5 (W.D. PA Nov. 12, 2013) (citing Tarlton v. Cumberland Cnty. Corr.
 15 Fac., 192 F.R.D. 165, 170 (D. N.J. 2000)).2
 16          The Court has limited discovery to information relevant to its jurisdictional
 17 analysis, Dkt. 205, and Defendants cannot use the discovery process to embark on an
 18 unfettered, merits-based fishing expedition concerning Plaintiff’s personal life and
 19 matters unrelated to the Defendants’ jurisdictional contacts and activities. This is
 20 especially so here, where the matters at issue concern the grave impact Defendants’
 21 actions had on the health, well-being, and livelihood of Plaintiff whose childhood was
 22
 23   2
              Defendants also go to great lengths to argue that Plaintiff has somehow delayed or
      obfuscated the Court’s jurisdictional analysis by asking for a routine two-week extension to
 24   respond to Defendants’ Interrogatories. Of course, they fail to disclose that they too asked for an
 25   extension (see J. Doyle Declaration, ¶ 2), which is common practice in complex litigations such as
      this one. In any event, at the time Plaintiff served her responses and objections to Defendants’
 26   interrogatories on November 2, 2022, Plaintiff was proceeding with the understanding that the
      Court’s August 11, 2022 Scheduling Order directed the parties to complete merits discovery
 27   simultaneous with jurisdictional discovery. (Dkt. 173), and accordingly provided substantive
      objections to Defendants’ requests. On November 14, 2022, however, the Court vacated the
 28   August 11 order. (Dkt. 205.)

                                               5                     CASE NO. 2:21-cv-04920
                          MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 8 of 49 Page
                                     ID #:3730


   1 destroyed by the widespread dissemination of her CSAM.
   2        Contrary to their assertions otherwise, Defendants are not entitled to documents
   3 unrelated to jurisdiction and information concerning the personal, private life of
   4 Plaintiff. Defendants are the only parties who possess the knowledge, custody, and
   5 control of the information the Court has identified as relevant to jurisdiction and
   6 Defendants counter requests are overly broad, prematurely seek discovery on the
   7 merits of Plaintiff’s claims, and unjustifiably attempt to further breach the
   8 constitutionally protected privacy of Plaintiff. Accordingly, Plaintiff respectfully
   9 requests that the Court sustain Plaintiff’s objections and deny Defendants’ motions to
 10 compel.
 11 II.     GENERAL ISSUES AND OBJECTIONS
 12         A.     MindGeek Entities’ Position
 13         Rule 37 permits a party to “move for an order compelling disclosure or
 14 discovery” when “a party fails to answer an interrogatory submitted under Rule 33”
 15 and when “a party fails to produce documents … as requested under Rule 34.” Fed.
 16 R. Civ. P. 37(a)(1), (a)(3)(B)(iii-iv). An order compelling discovery is necessary here.
 17 Plaintiff’s objections do not withstand any serious scrutiny. With respect to the
 18 Interrogatories, Plaintiff objects to most of the MindGeek Entities’ interrogatories as
 19 seeking “information beyond that relevant to the Court’s jurisdictional analysis.” This
 20 objection is meritless; each of the MindGeek Entities’ interrogatories addresses issues
 21 relevant to personal jurisdiction. As the Court recognized, for Plaintiff to show that
 22 the Court may exercise personal jurisdiction over MindGeek S.à.r.l. and MG Premium
 23 Ltd, she must either show that those entities each have sufficient jurisdictionally
 24 relevant contacts such that the Court may exercise specific personal jurisdiction over
 25 them, Fleites v. MindGeek, S.A.R.L., 2022 WL 4455558, *1-2, n.3 (C.D. Cal. July 29,
 26 2022), or that Plaintiff may impute the contacts of other MindGeek Entities based on
 27 the alter-ego doctrine. Id. at *2-3. Accordingly, each of the MindGeek Entities’
 28 Interrogatories seeks information relevant to their alleged contacts with Plaintiff or

                                            6                     CASE NO. 2:21-cv-04920
                       MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS       Document 223-1      Filed 11/30/22   Page 9 of 49 Page
                                      ID #:3731


   1 the information on which Plaintiff premises her alter-ego theory.
   2         Having unrelated contacts with California is insufficient to trigger specific
   3 personal jurisdiction. Among other requirements, Plaintiff’s “claim must be one
   4 which arises out of or relates to the defendant’s forum-related activities.”
   5 Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). Due
   6 process requires a direct connection between the harm alleged and the defendant’s
   7 contacts with the forum state. “When there is no such connection, specific jurisdiction
   8 is lacking regardless of the extent of a defendant’s unconnected activities in the State.”
   9 See Bristol-Myers Squibb Co. v. Super. Ct. (BMS), 137 S. Ct. 1773, 1781 (2017).
 10 Accordingly, Plaintiff must demonstrate that her claims arise out of actions taken by
 11 MindGeek S.à.r.l. and MG Premium Ltd. in California to exercise specific jurisdiction
 12 over them. Information about all of Plaintiff’s contacts with the company, the
 13 circumstances under which the images at issue in the case came to be created and
 14 uploaded to Pornhub.com or any other website operated by one of the MindGeek
 15 Entities, the contacts between the MindGeek Entities and any purported Traffickers,
 16 and the injuries Plaintiff is claiming were caused by each of the MindGeek Entities,
 17 are all relevant to this analysis.
 18          To the extent Plaintiff is seeking to impute the contacts of other MindGeek
 19 Entities to MindGeek S.à.r.l. and MG Premium Ltd on an “alter-ego” theory, Plaintiff
 20 must show “(1) such unity of interest and ownership between parent and subsidiary
 21 ‘that the separate personalities of the two entities no longer exist and (2) that the
 22 failure to disregard the separate entities would result in fraud or injustice.” Iconlab,
 23 Inc. v. Bausch Health Cos., 828 F. App’x 363, 364 (9th Cir. 2020). Plaintiff’s First
 24 Amended Complaint repeatedly alleges that MindGeek’s corporate structure is a
 25 “sham,” and that the company “operates as a singular business entity.”                The
 26 MindGeek Entities fully disagree with these allegations and have provided significant
 27 financial and corporate information demonstrating that Plaintiff’s allegations are
 28 baseless. Nonetheless, Plaintiff presumably had some evidentiary support for her

                                             7                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 10 of 49 Page
                                     ID #:3732


   1 factual allegations when she included them in her pleadings and other submissions to
   2 the Court. The MindGeek Entities are entitled to know what Plaintiff based the
   3 allegations on and the source(s) of that information to rebut Plaintiff’s “alter-ego”
   4 allegations.
   5         Apart from her broad refusal to provide any discovery on the grounds that the
   6 MindGeek Entities’ discovery requests purportedly do not relate to personal
   7 jurisdiction (they do), Plaintiff’s RFP responses also made a number of additional
   8 general objections. These too lack merit. For example, Plaintiff claims that the term
   9 “MindGeek Entity” as used in the discovery requests is vague and ambiguous or “not
  10 defined in the requests.” Plaintiff is simply wrong. The introductory paragraph of
  11 Defendants’ Requests defines the MindGeek Entities as “Defendants MindGeek
  12 S.à.r.l., MG Freesites Ltd, MG Premium Ltd, MindGeek USA Inc., MG Global
  13 Entertainment Inc., and 9219-5618 Quebec Inc.,” the entities serving the requests.
  14 See Def’t MindGeek Entities’ First Req. for Prod. of Docs. to Pl. Related to Personal
  15 Jurisdiction (Ex. B).
  16         Plaintiff also purports to withhold documents on the basis of an “investigative
  17 and consulting expert privilege.” Such withholding is improper. Rule 26(b)(4)(D) by
  18 its terms applies only to “facts known or opinions held by an expert who has been
  19 retained or specially employed by another party in anticipation of litigation or to
  20 prepare for trial and who is not expected to be called as a witness at trial.” Fed. R.
  21 Civ. P. 26(b)(4)(D). It does not provide for any “investigative” privilege or extend to
  22 underlying documents relied on or ancillary to an expert’s opinions. See, e.g.,
  23 General Elec. Co. v. Wilkins, 2012 WL 3205430 *8 (E.D. Cal. Aug. 2, 2012).
  24 Accordingly, to the extent any responsive materials are being withheld pursuant to
  25 this purported privilege, they should be produced. In the alternative, the MindGeek
  26 Entities requested a privilege log detailing the nature of the documents and why they
  27 should not be produced; but Plaintiff has provided no such log.
  28         Plaintiff’s objections also claim that she intends to limit her production to

                                             8                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 11 of 49 Page
                                     ID #:3733


   1 “responsive, non-privileged documents … in Plaintiff’s direct possession, custody or
   2 control.” Such limitation is improper. Rule 34(a) entitles a party to discovery of
   3 material in “the responding party’s possession, custody, or control …,” not just in her
   4 “direct” possession custody or control. If someone acting on Plaintiff’s behalf has
   5 responsive documents, they need to be produced regardless of whether they are in
   6 Plaintiff’s direct possession or in the possession of her agent. Plaintiff has not
   7 explained what, if any, documents are being withheld on this basis despite the
   8 MindGeek Entities’ request that Plaintiff do so.
   9         Plaintiff’s Responses serially object to the requests “to the extent they seek
  10 documents and information … equally available to Defendants from sources other
  11 than Plaintiff.” But as the MindGeek Entities have explained to Plaintiff’s counsel on
  12 several occasions, to the extent the MindGeek Entities have certain material relating
  13 to videos allegedly uploaded to Pornhub depicting Plaintiff, they require additional
  14 information from Plaintiff to identify such material from among more than 10 million
  15 other videos. Despite extensive efforts, based on the information provided to date,
  16 the MindGeek Entities have not been able to locate all of the Content Plaintiff alleges
  17 was posted to websites operated by the MindGeek Entities, including the video
  18 referred to in paragraphs 258-263 of the Amended Complaint. To the extent Plaintiff
  19 has information about each video, such as its URL, title, tags, category and comments,
  20 the uploader and the date of upload, and/or information about the requests to remove
  21 each video, such as the email addresses from which the requests were sent, the dates
  22 on which they were sent, the precise words used in the requests and the words used in
  23 the responses, it is important that such information be produced so the MindGeek
  24 Entities can identify the Content Plaintiff claims was uploaded. Identifying the
  25 Content is necessary for determining whether there are jurisdictionally relevant
  26 contacts between the Defendants challenging jurisdiction, including MindGeek
  27 S.à.r.l. or MG Premium Ltd, and Plaintiff.
  28         The RFP responses also repeatedly object to the extent the MindGeek Entities’

                                             9                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 12 of 49 Page
                                     ID #:3734


   1 requests call for “disclosure of confidential, proprietary or private information,” or
   2 would violate a “right to privacy.” However, Plaintiff cannot withhold material on
   3 those grounds given the nature of her claims. The scope of discovery includes
   4 information “regarding any nonprivileged matter that is relevant to any party’s claim
   5 or defense and proportional to the needs of the case.” Spe v. Fitness Int’l, 2020 WL
   6 11884709, at *1 (C.D. Cal. Dec. 16, 2020) (Spaeth, M.J.). Plaintiff has put a number
   7 of sensitive issues before the Court, including her mental health and reputation, and
   8 the MindGeek Entities have a right to fully explore those issues. See, e.g., Garcia v.
   9 Capistrano Unified School Dist., 2019 WL 6332242, *3 (C.D. Cal. June 18, 2019)
  10 (Spaeth, J.) (requiring production of medical records where Plaintiff’s “mental and
  11 emotional health” were placed at issue); Inland Empire Waterkeeper v. Columbia
  12 Steel, Inc., 2019 WL 6332242, *3 (C.D. Cal. June 18, 2019) (Spaeth, J.) (requiring
  13 disclosure of financial information relevant to claim over Plaintiff’s privacy
  14 objection); Bechtold v. Billings Police Dept., 2010 WL 11534461 *1 (D. Mont. Jan.
  15 26, 2010) (requiring production of mental health records where plaintiff claimed
  16 mental and emotional harm). Similarly, if there is material that identifies Content
  17 depicting Plaintiff that she alleges was published on the internet, that material cannot
  18 be withheld on the bases of these objections. (The MindGeek Entities are not
  19 requesting production of any Content itself.) If there are responsive documents that
  20 are sensitive and properly confidential, the Parties’ Stipulated Protective Order allows
  21 them to be marked confidential, but Plaintiff’s claim to “privacy” does not provide a
  22 basis for her to withhold responsive documents.
  23         Plaintiff’s general objection to the MindGeek Entities’ definition of “Content”
  24 as “ambiguous, overbroad, and unduly burdensome” and “calling for the production
  25 of information or material not relevant to any claim or defense” is similarly meritless.
  26 First, there is nothing ambiguous about the term which is clearly defined as “any video
  27 … photograph, gif, or other image depicting Plaintiff in a sexually explicit
  28 manner…that was uploaded to any website or was/is otherwise available to the

                                            10                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 13 of 49 Page
                                     ID #:3735


   1 public.” Plaintiff’s Complaint alleges two videos of her were uploaded to Pornhub,
   2 but those videos do not appear to have been the only sexually explicit videos of
   3 Plaintiff that were uploaded to the internet by Plaintiff or a third party. Defendants
   4 are entitled to understand the full extent of Plaintiff’s sexually explicit online
   5 activities as they are related to Plaintiff’s assertions that Defendants materially
   6 contributed to the creation of Content depicting Plaintiff, encouraged others to upload
   7 such Content, and harmed her in California and her allegations that she suffered
   8 damages based on Defendants’ forum related conduct.
   9         Similarly, there is nothing “ambiguous, overbroad, [or] unduly burdensome”
  10 about the MindGeek Entities’ definition of “online handle” as Plaintiff’s objections
  11 claim. The term is defined straightforwardly as “any username, alias, moniker, or title
  12 used to designate or indicate Plaintiff’s posts, comments, or other activities on any
  13 website or associated with an online account created or controlled by Plaintiff.” If
  14 Plaintiff had any online accounts that, for example, she used to make posts online or
  15 upload videos or images, she would have had an “online handle” connected to the
  16 uploaded material. Since Plaintiff alleges material posted on sites independent of any
  17 MindGeek site was subsequently uploaded to websites operated by the MindGeek
  18 Entities, information regarding such material and the “online handle” Plaintiff used
  19 in connection with such material is relevant to show purported contacts between the
  20 MindGeek Entity Defendants and Plaintiff.
  21         Plaintiff’s Responses also impermissibly narrow the term “trafficker” as it is
  22 defined in both the Interrogatories and the RFPs. While the term includes the two
  23 men referenced in Paragraphs 258 and 267 of Plaintiff’s First Amended Complaint, it
  24 also would include those who assisted them in creating or uploading any Content.
  25 Plaintiff’s First Amended Complaint asserts that anyone involved in the creation or
  26 upload of videos of Plaintiff is a “sex trafficker” under federal law. Accordingly, by
  27 Plaintiff’s own definition, anyone associated with these activities is potentially a
  28 relevant witness. The circumstances under which the videos came to be created and

                                            11                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 14 of 49 Page
                                          ID #:3736


   1 uploaded are essential facts that go to personal jurisdiction, not merely the merits of
   2 Plaintiff’s claims.
   3          None of the foregoing objections have merit but they are invoked repeatedly
   4 by Plaintiff throughout the Responses and used as justification for ignoring her
   5 discovery obligations. These objections should be overruled and for these reasons,
   6 and additional reasons particular to specific Interrogatories and RFPs set forth below,
   7 this Motion to Compel should be granted.
   8          B.      Plaintiff’s Position3
   9          This Court has explicitly directed that factors relevant to its jurisdictional
  10 analysis include the manner in which the MindGeek Entity Defendants and their
  11 officers and employees accepted, promoted, solicited, optimized, distributed, and
  12 capitalized on the proliferation and sale of CSAM, including that of Plaintiff.
  13 Recognizing that this information is uniquely within Defendants’ possession, the
  14 Court directed Defendants to submit to jurisdictional discovery, not Plaintiff.
  15 Defendants attempt to place Plaintiff at center stage of the Court’s jurisdictional
  16 evaluation, but it is Defendants’ contacts and activities with California and the United
  17 States as they relate to the commercialization and monetization of Plaintiff’s CSAM;
  18 their policies, procedures, and systems that surround the upload, optimization,
  19 distribution, dissemination, and capitalization, of CSAM; and the operation and
  20 control exercised by the various individuals and entities over Defendants’ tubesites
  21 and platforms, that are under review. Dkt. 167 at 3 (discussing the importance of
  22
       3
              As set forth in FN 2, at the time Plaintiff served discovery on the MindGeek Entity
  23 Defendants and responded and objected to the MindGeek Entities requests for production and
       interrogatories, Plaintiff did so with the understanding that the Court’s August 11, 2022 order
  24 directed the parties to complete jurisdictional and merits discovery by April 2023. Accordingly,
  25 Plaintiffs responded to Defendants’ merits requests with substantive objections about the scope of
       what information Plaintiffs believed appropriate during the merits phase of discovery. As set forth
  26   herein, Plaintiff believes that defendants’ requests are inappropriate in their entirety at this
       juncture in light of the Court’s November 2 order which made clear this stage of discovery is
  27   limited to jurisdictional discovery. Accordingly, Plaintiff does not believe its necessary to address
       its other objections in this Joint Stipulation. Nothing contained herein shall be deemed a waiver of
  28   any objections Plaintiff has asserted.

                                               12                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1    Filed 11/30/22   Page 15 of 49 Page
                                     ID #:3737


   1 evaluating who controls Defendants’ websites and noting that “[t]he distinction
   2 between direct and indirect ownership of the offending websites is crucially important
   3 to the Court’s jurisdictional analysis”).
   4         It is well-settled that a Court “may properly refuse or limit jurisdictional
   5 discovery [] if the proposed discovery seems unlikely to shed light on the
   6 jurisdictional question.” Wang v. Wu, No. 16-cv-84 GW (MRWx), 2016 WL
   7 10957847, at *2 (C.D. Cal. Dec. 7, 2016) (quoting 8 Wright, Miller & Marcus, Federal
   8 Practice & Procedure, § 2008.3 (3d ed. 2010 and supp.). Jurisdictional and non-
   9 jurisdictional discovery are distinct and Defendants’ requests for documents and
  10 material that pertain only to the merits of Plaintiff’s claims are beyond the scope of
  11 jurisdictional discovery. Baker v. Wehinger, et al., No. 18-cv-05800 SJO (Ex), 2019
  12 WL 6720990, at *8 (C.D. Cal. Mar. 20, 2019) (citing Wang, 2016 WL 10957847, at
  13 *2) (finding that jurisdictional discovery requests must be relevant discovery on
  14 jurisdictional issues).
  15         Here, Defendants requests go well beyond the scope of jurisdictional discovery,
  16 and thus any motion to compel Plaintiff’s responses to these requests should be
  17 denied. For example, Defendants request seek information concerning the creation
  18 of Plaintiff’s CSAM and her subsequent discovery of this material on MindGeek’s
  19 tubesites (RFP No. 4, ROG Nos. 7, 8), communications between Plaintiff and the
  20 male individuals referred to in paragraphs 267 and 269 of the First Amended
  21 Complaint (RFP No. 5), Plaintiff’s comments, if any, on content uploaded to sites
  22 operated by MindGeek Entities (RFP No. 7), documentation concerning Plaintiff’s
  23 injuries and mental and medical conditions (RFP No. 8, ROG No. 10), and documents
  24 concerning Plaintiff’s financial and reputational harm (RFP No. 9). Defendants’
  25 remaining requests seek information concerning Plaintiffs’ sources and factual bases
  26 for the assertions set forth in the Amended Complaint, including the identities of
  27 Plaintiff’s whistleblowers. (RFP Nos. 10, 11, ROG No. 13.) Again, this information
  28 does not have any bearing on Defendants’ jurisdictional and alter ego contacts with

                                            13                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 16 of 49 Page
                                     ID #:3738


   1 this State, and thus is nothing more than a thinly veiled effort to use the jurisdictional
   2 discovery period to discredit Plaintiffs’ claim.
   3         This Court should reject Defendants’ attempt to lure the Court into believing
   4 that Plaintiff must be ordered to provide the requested information to them so they
   5 can fulfill their own discovery obligations. It is not Plaintiff’s responsibility to
   6 conduct Defendants’ searches for them. Defendants have the responsibility to search
   7 for and produce responsive material and information that is complete and unevasive.
   8 Trujillo v. Princess Cruise Lines Ltd., No. 20-cv-7451, 2021 WL 3604518, at *3 (C.D.
   9 Cal. Apr. 23, 2021) (“The answers to interrogatories must be responsive, full,
  10 complete and unevasive.”). This is particularly so here, where the jurisdictional
  11 discovery at issue concerns Defendants’ conduct and the operation of their various
  12 business entities. If these particular entities and their related directors and officers
  13 have conducted thorough searches in response to Plaintiff’s discovery requests and
  14 truly have no responsive material as Defendants claim, Defendants should simply
  15 state so in their responses. The burden on Defendants to locate responsive material
  16 does not simply shift to Plaintiff and suddenly open the door to premature merits
  17 discovery simply because Defendants have been unable to locate responsive material.
  18         Because the sought-after information goes beyond the scope of jurisdictional
  19 discovery, Defendants’ cannot carry their initial burden to demonstrate the relevance
  20 of the requested discovery and the MindGeek Entities’ motion should be denied.
  21 Huang v. Big Data Supply Inc., No. 8:21-cv-00282-JVS (JDEx), 2021 WL 4816827,
  22 at *1 (C.D. Cal. Aug. 12, 2021) (the movant has the initial burden of demonstrating
  23 relevance).
  24 III.    INTERROGATORIES AND RESPONSES AT ISSUE
  25         The following Interrogatories were served on Plaintiff on September 19, 2022.
  26         A.    Interrogatory No. 2
  27         Interrogatory: Identify Plaintiff’s names, aliases, email addresses, and/or online
  28 handles used by Plaintiff at any time, including but not limited to ones used by

                                            14                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 17 of 49 Page
                                     ID #:3739


   1 Plaintiff in connection with the Pornhub account created by Plaintiff referenced in
   2 paragraph 261 of the First Amended Complaint and the sale of videos of herself as
   3 referenced in paragraph 267 of the First Amended Complaint.
   4         Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
   5 broad, unduly burdensome, and seeks information that is not reasonably calculated to
   6 lead to the discovery of admissible evidence or proportionate to the needs of the case.
   7 Plaintiff further objects to this Interrogatory to the extent it seeks information in the
   8 MindGeek Entity Defendants’ possession or control or equally accessible to the
   9 MindGeek Entity Defendants. Finally, Plaintiff objects to this Interrogatory to the
  10 extent it seeks information beyond that relevant to the Court’s jurisdictional analysis.
  11 Although Plaintiff’s position is that the Court’s August 11, 2022 order directed the
  12 parties to complete both jurisdictional and merits discovery by April 2023, the
  13 MindGeek Entity Defendants have taken the position that merits discovery is
  14 premature at this juncture. The MindGeek Entity Defendants should not be entitled to
  15 seek merits discovery from Plaintiff while simultaneously refusing to provide
  16 responses to Plaintiff’s discovery requests.
  17         Subject to, and without waiving any and all objections, Plaintiff states that she
  18 will provide the names, aliases, email addresses and/or online handles used to
  19 communicate with Pornhub or any other tubesite owned or operated by the MindGeek
  20 Entity Defendants at such time that the MindGeek Entity Defendants respond to
  21 Plaintiff’s merits discovery requests.
  22         MindGeek Entity Defendants’ Contentions: Interrogatory 2 seeks information
  23 concerning names, e-mail addresses, and online handles used by Plaintiff. This
  24 information is essential to allow the MindGeek Entities to evaluate all of the contacts
  25 particular MindGeek Entities may have had with Plaintiff or Plaintiff’s alleged
  26 Traffickers, as well as to evaluate Plaintiff’s claims that these forum specific contacts
  27 harmed Plaintiff. The information accordingly goes directly to whether MindGeek
  28 S.à.r.l. and MG Premium Ltd had sufficient jurisdictionally relevant contacts such

                                            15                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 18 of 49 Page
                                          ID #:3740


   1 that the Court may exercise personal jurisdiction over them. Moreover, as set out
   2 more fully above in Part II.A., to the extent Plaintiff has this information, it is
   3 important that it be produced so the MindGeek Entities can identify the Content
   4 Plaintiff claims was uploaded. It is also inappropriate to limit Plaintiff’s response to
   5 only those online names, aliases, e-mail addresses and/or online handles “used to
   6 communicate with Pornhub or any other tubesite owned or operated by the MindGeek
   7 Entity Defendants” for the reasons discussed in Part II.A. Plaintiff’s Complaint
   8 describes two videos of her that were purportedly uploaded to Pornhub, but those
   9 videos do not appear to have been the only sexually explicit videos of Plaintiff that
  10 were uploaded to the internet by Plaintiff or a third party. Since Plaintiff seeks to hold
  11 Defendants liable for Content she sold on sites unaffiliated with the MindGeek
  12 Entities, they are entitled to information bearing on any purported connection they
  13 have to such Content. Defendants are entitled to understand the full extent of
  14 Plaintiff’s sexually explicit online activities as they are related to Plaintiff’s assertions
  15 that Defendants harmed her in California and her allegations that she suffered
  16 damages based on Defendants’ forum related conduct.
  17          Plaintiff’s Contentions:
  18          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  19 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  20 the Court’s inquiry and no additional response is required.4
  21          B.      Interrogatory No. 3
  22          Interrogatory:      Identify Trafficker(s) as defined above. Please include, in
  23 addition to the information included in the definition of “Identify” above, all names
  24 or aliases those persons or entities ever used or were known by and dates during which
  25
  26   4
        Plaintiff does not waive her specific objections to Interrogatory No. 2, or any of the other
       interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
  27   interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
       needs of the case, and outweighed by Plaintiff’s Constitutional right to privacy (Artis v. Deere &
  28   Co., 276 F.R.D. 348, 352 (N.D. Cal. 2011)), should the Court deem it necessary.

                                               16                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS        Document 223-1      Filed 11/30/22    Page 19 of 49 Page
                                       ID #:3741


   1 such name(s) were used, and all email addresses and online handles used by those
   2 persons or entities at any time.
   3         Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
   4 broad, unduly burdensome, seeks information that is not reasonably calculated to lead
   5 to the discovery of admissible evidence or proportional to the needs of the case, and
   6 to the extent it calls for a legal conclusion as to the definition of the term Trafficker.
   7 Plaintiff incorporates by reference her General Objections to the MindGeek Entity
   8 Defendants’ definition of the term Trafficker. Plaintiff further objects to this
   9 Interrogatory to the extent the information sought is within the MindGeek Entity
  10 Defendants’ possession, custody or control or is equally accessible to the MindGeek
  11 Entity Defendants. Finally, Plaintiff objects to this Interrogatory to the extent it seeks
  12 information beyond that relevant to the Court’s jurisdictional analysis. Although
  13 Plaintiff’s position is that the Court’s August 11, 2022 order directed the parties to
  14 complete both jurisdictional and merits discovery by April 2023, the MindGeek Entity
  15 Defendants have taken the position that merits discovery is premature at this juncture.
  16 The MindGeek Entity Defendants should not be entitled to seek merits discovery from
  17 Plaintiff while simultaneously refusing to provide responses to Plaintiff’s discovery
  18 requests.
  19         Subject to and without waiving any and all objections, Plaintiff states that she
  20 will identify the names and online handles, to the extent known, of those individuals
  21 that posted content of her to any sites owned or operated by MindGeek at such time
  22 that the MindGeek Entity Defendants respond to Plaintiff’s merits discovery requests.
  23         MindGeek Entity Defendants’ Contentions:            This interrogatory seeks the
  24 identity of Plaintiff’s alleged Traffickers. Plaintiff’s core allegation in this case is that
  25 the MindGeek Entities are responsible for the creation and publication of videos
  26 depicting Plaintiff when she was underage. She also alleges that the MindGeek
  27 Entities participated in a venture with the individuals who allegedly filmed, created,
  28 and uploaded the videos to Pornhub. Accordingly, these individuals are at the heart

                                             17                     CASE NO. 2:21-cv-04920
                         MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 20 of 49 Page
                                          ID #:3742


   1 of this case and possess knowledge relevant to personal jurisdiction, including any
   2 contacts between them and the MindGeek Entities and whether any conduct by them
   3 contributed to the creation or uploading of the videos. The limitations Plaintiff
   4 attempts to put on this term discussed in Part II.A. are also inappropriate for the
   5 reasons discussed in that section. There is no basis for refusing to provide this
   6 information at this juncture.
   7          Plaintiff’s Contentions:
   8          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   9 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  10 the Court’s inquiry and no additional response is required.5
  11          C.      Interrogatory No. 4
  12          Interrogatory: For each piece of Content you claim was uploaded to any
  13 website operated by a MindGeek Entity, identify the website on which the Content
  14 appeared, all titles, tags, comments, and/or categories of or about the Content and any
  15 URL at which any such piece of Content can be or could have been viewed. If a piece
  16 of Content was posted on multiple occasions to the same website, provide the title,
  17 tags, categories, and URL for each posting separately.
  18          Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
  19 broad, unduly burdensome, and seeks information in the MindGeek Entity
  20 Defendants’ possession, custody, or control or that is equally accessible to the
  21 MindGeek Entity Defendants. Plaintiff further objects to this Interrogatory to the
  22 extent it seeks information beyond that relevant to the Court’s jurisdictional analysis.
  23
  24   5
        Plaintiff does not waive her specific objections to Interrogatory No. 3, or any of the other
  25   interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  26   needs of the case, and is otherwise irrelevant because content that is not the subject of Plaintiff’s
       contentions for liability bears no relevance to this case. Zissa v. Cnty. of Los Angeles, No. 18-cv-
  27   10174-CJC (JDEx), 2019 WL 13074698, at *1 (C.D. Cal. Nov 7, 2019) (explaining that relevance
       “encompass[es] any matter that bears on, or that reasonably could lead to other matter that could
  28   bear on, any issue that is or may be in the case.’”).

                                               18                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22     Page 21 of 49 Page
                                     ID #:3743


   1 Although Plaintiff’s position is that the Court’s August 11, 2022 order directed the
   2 parties to complete both jurisdictional and merits discovery by April 2023, the
   3 MindGeek Entity Defendants have taken the position that merits discovery is
   4 premature at this juncture. The MindGeek Entity Defendants should not be entitled
   5 to seek merits discovery from Plaintiff while simultaneously refusing to provide
   6 responses to Plaintiff’s discovery requests.
   7         Subject to and without waiving any and all objections, Plaintiff states that she
   8 will respond to this Interrogatory at such time that the MindGeek Entity Defendants
   9 respond to Plaintiff’s merits discovery requests.
  10         MindGeek Entity Defendants’ Contentions:                Interrogatory 4 requests
  11 information regarding the Content Plaintiff claims was posted to websites owned or
  12 operated by certain MindGeek Entities. Plaintiff’s objections to the term “Content”
  13 are baseless for the reasons discussed in Part II.A. This information is essential to
  14 allow the MindGeek Entities to evaluate all of the contacts particular MindGeek
  15 Entities may have had with Plaintiff or Plaintiff’s alleged Traffickers, as well as to
  16 evaluate Plaintiff’s claims that these forum specific contacts actually harmed Plaintiff.
  17 MindGeek S.à.r.l. is a holding company, without any employees or operations of its
  18 own. See Decl. of Andreas Alkiviades Andreou in Sup. of the MindGeek Def’s.’ Mot.
  19 to Dismiss at ¶ 14 [Dkt. 139-3]. MG Premium Ltd is responsible for operating
  20 websites referred to as “paysites,” which offer certain subscription-based content, as
  21 opposed to “tubesites” that host user generated content like Pornhub.com. Id. at ¶ 24.
  22 The information the MindGeek Entities are seeking goes directly to whether
  23 MindGeek S.à.r.l. and MG Premium Ltd had sufficient jurisdictionally relevant
  24 contacts such that the Court may exercise personal jurisdiction over them. Moreover,
  25 the MindGeek Entities have not been able to locate all of the Content Plaintiff alleges
  26 was posted and to the extent Plaintiff has this information, it is important it be
  27 produced so the MindGeek Entities can identify the content.
  28         Plaintiff’s Contentions:

                                            19                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS              Document 223-1        Filed 11/30/22      Page 22 of 49 Page
                                             ID #:3744


   1             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   2 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
   3 the Court’s inquiry and no additional response is required.6
   4             D.      Interrogatory No. 5
   5             Interrogatory: Identify the support for your allegation that any MindGeek
   6 Entity uploaded Content depicting Plaintiff to a website operated by a MindGeek
   7 Entity, including but not limited to Plaintiff’s claim in Paragraph 262 of the First
   8 Amended Complaint that MindGeek “uploaded [videos of Plaintiff] to other
   9 tubesites” and Plaintiff’s assertions in opposition to the MindGeek Entities’ motion
  10 to dismiss that the MindGeek Entities reuploaded Content that had been removed or
  11 disabled so that it re-appeared on a website operated by a MindGeek Entity.
  12             Response: Plaintiff objects to this Interrogatory on the grounds that it is vague,
  13 ambiguous, and calls for a legal conclusion. Plaintiff further objects to this
  14 interrogatory on the grounds that it improperly seeks discovery of attorney work
  15 product and other privileged material relating to Plaintiff’s investigation of
  16 defendants’ wrongful conduct.
  17             MindGeek Entity Defendants’ Contentions: Interrogatory 5 seeks information
  18 regarding Plaintiff’s allegations that any MindGeek Entity (as opposed to a third-
  19 party) uploaded or reuploaded Content to a website operated by a MindGeek Entity
  20 as claimed in the First Amended Complaint. The request does not, as Plaintiff claims,
  21 call for any legal conclusions, attorney work product or other privileged information;
  22 it seeks the underlying information Plaintiff believes supports these allegations. This
  23 information, along with information necessary to identify all of the Content depicting
  24 Plaintiff that was allegedly uploaded to a site operated by a MindGeek Entity, is
  25 essential to allow the MindGeek Entities to evaluate all of the contacts particular
  26
       6
           Plaintiff does not waive her specific objections to Interrogatory No. 4, or any of the other
  27 interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  28 needs of the case, and is otherwise irrelevant.

                                                  20                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1         Filed 11/30/22      Page 23 of 49 Page
                                          ID #:3745


   1 MindGeek Entities may have had with Plaintiff or Plaintiff’s alleged Traffickers, as
   2 well as to evaluate Plaintiff’s claims that these forum specific contacts actually
   3 harmed Plaintiff. The information accordingly goes directly to whether MindGeek
   4 S.à.r.l. and MG Premium Ltd had sufficient jurisdictionally relevant contacts such
   5 that the Court may exercise personal jurisdiction over them.
   6          Plaintiff’s Contentions:
   7          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   8 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
   9 the Court’s inquiry and no additional response is required.7
  10          E.      Interrogatory No. 6
  11          Interrogatory: Describe all communications between Plaintiff and each
  12 MindGeek Entity after Plaintiff learned or discovered that Content had been posted
  13 or uploaded to any website operated by a MindGeek Entity, including but not limited
  14 to any requests to remove Content and the communications referenced in Paragraphs
  15 261 and 263 of the First Amended Complaint.
  16          Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
  17 broad, unduly burdensome, and seeks information in the MindGeek Entity
  18 Defendants’ possession, custody, or control or that is equally accessible to the
  19 MindGeek Entity Defendants. Plaintiff further objects to this Interrogatory to the
  20 extent it seeks information beyond that relevant to the Court’s jurisdictional analysis.
  21 Although Plaintiff’s position is that the Court’s August 11, 2022 order directed the
  22 parties to complete both jurisdictional and merits discovery by April 2023, the
  23 MindGeek Entity Defendants have taken the position that merits discovery is
  24 premature at this juncture. The MindGeek Entity Defendants should not be entitled to
  25   7
        Plaintiff does not waive her specific objections to Interrogatory No. 5, or any of the other
  26   interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  27   needs of the case, calls for privileged information, and is otherwise irrelevant. Plaintiff’s “support
       for” her allegations are irrelevant to the Court’s jurisdictional assessment as opposed to
  28   information concerning Defendants actual policies and conduct concerning the allegation.

                                                21                     CASE NO. 2:21-cv-04920
                            MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS              Document 223-1        Filed 11/30/22      Page 24 of 49 Page
                                             ID #:3746


   1 seek merits discovery from Plaintiff while simultaneously refusing to provide
   2 responses to Plaintiff’s discovery requests.
   3             Subject to and without waiving any and all objections, Plaintiff states that she
   4 will respond to this Interrogatory at such time that the MindGeek Entity Defendants
   5 respond to Plaintiff’s merits discovery requests
   6             MindGeek Entity Defendants’ Contentions:                     Interrogatory 6 seeks all
   7 communications between Plaintiff and any MindGeek Entities after Plaintiff learned
   8 that Content had allegedly been posted to a MindGeek website. This information is
   9 essential to allow the MindGeek Entities to evaluate all of the contacts particular
  10 MindGeek Entities may have had with Plaintiff or Plaintiff’s alleged Traffickers as
  11 well as to evaluate Plaintiff’s claims that these forum specific contacts harmed
  12 Plaintiff. The information accordingly goes directly to whether MindGeek S.à.r.l. and
  13 MG Premium Ltd had sufficient jurisdictionally relevant contacts such that the Court
  14 may exercise personal jurisdiction over them. As discussed in more detail in Part II.A
  15 above, to the extent Plaintiff has information about these e-mail addresses such as
  16 those from which the requests were sent, it is important that it be produced or
  17 identified so the MindGeek Entities can identify the Content Plaintiff claims was
  18 uploaded and all communications related thereto.
  19             Plaintiff’s Contentions:
  20             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  21 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  22 the Court’s inquiry and no additional response is required.8
  23             F.      Interrogatory No. 8
  24             Interrogatory: For each piece of Content claimed to have been uploaded to any
  25 website operated by a MindGeek Entity, describe all facts relating to the
  26
       8
           Plaintiff does not waive her specific objections to Interrogatory No. 6, or any of the other
  27 interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  28 needs of the case.

                                                  22                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 25 of 49 Page
                                     ID #:3747


   1 circumstances under which the Content was created, including but not limited to the
   2 date the Content was created; the age of Plaintiff on that date; the location where the
   3 Content was created; the livestream or video-chat service (if any) in use at the time
   4 the Content was created; who was present at the time the Content was created; the
   5 identity of any other person appearing in the Content; the identity of the person who
   6 recorded, photographed, or otherwise created the Content; for any Content created
   7 when Plaintiff was 18 years old or older, whether Plaintiff agreed or purported to
   8 agree to engage in the acts depicted in the Content and/or to the recording,
   9 photographing, or creating of the Content, and whether force or the threat of force
  10 caused Plaintiff to engage in the acts depicted in the Content and/or to the recording,
  11 photographing, or creating of the Content.
  12         Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
  13 broad, unduly burdensome, seeks information that is not reasonably calculated to lead
  14 to discovery of admissible evidence or proportional to the needs of the case, and to
  15 the extent it calls for legal conclusions about what constitutes fraud, force, or
  16 coercion. Plaintiff further objects to this Interrogatory to the extent it seeks
  17 information beyond that relevant to the Court’s jurisdictional analysis. Although
  18 Plaintiff’s position is that the Court’s August 11, 2022 order directed the parties to
  19 complete both jurisdictional and merits discovery by April 2023, the MindGeek Entity
  20 Defendants have taken the position that merits discovery is premature at this juncture.
  21 The MindGeek Entity Defendants should not be entitled to seek merits discovery from
  22 Plaintiff while simultaneously refusing to provide responses to Plaintiff’s discovery
  23 requests.
  24         Subject to and without waiving any and all objections, Plaintiff states that she
  25 will identify the images/videos known to Plaintiff to have been uploaded to any
  26 tubesites owned or operated by MindGeek and her age in those images/videos at such
  27 time that the MindGeek Entity Defendants respond to Plaintiff’s merits discovery
  28 requests.

                                            23                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS              Document 223-1        Filed 11/30/22      Page 26 of 49 Page
                                             ID #:3748


   1             MindGeek Entity Defendants’ Contentions: Interrogatory 8 seeks information
   2 concerning the creation of Content claimed to have been uploaded to any website
   3 operated by a MindGeek Entity. Plaintiff’s core allegation in this case is that the
   4 MindGeek Entities are responsible for the creation and publication of videos depicting
   5 Plaintiff when she was underage. The individuals who allegedly filmed, created, and
   6 uploaded the videos to websites operated by the MindGeek Entities are at the heart of
   7 this case. Accordingly, these individuals possess knowledge relevant to personal
   8 jurisdiction, including whether the conduct of the any MindGeek Entities contributed
   9 to the creation of the videos. To the extent Plaintiff purports to limit her response to
  10 videos “uploaded to any tubesites owned and operated by MindGeek,” that limitation
  11 is improper given Plaintiff’s new arguments that videos of her also appeared on
  12 paysites operated by certain MindGeek Entities. There is no basis for refusing to
  13 provide this information at this juncture.
  14             Plaintiff’s Contentions:
  15             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  16 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  17 the Court’s inquiry and no additional response is required.9
  18             G.      Interrogatory No. 10
  19             Interrogatory: Describe in detail each and every injury, illness, and physical,
  20 psychological, emotional, financial, employment, and/or reputational condition or
  21 harm you claim was caused by each MindGeek Entity, including but not limited to
  22 the nature of the injury, illness, condition or harm, the date you first suffered the
  23 injury, illness, condition or harm, and where you first suffered it.
  24             Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
  25 broad, and unduly burdensome. Plaintiff further objects to this interrogatory on the
  26
       9
           Plaintiff does not waive her specific objections to Interrogatory No. 8, or any of the other
  27 interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  28 needs of the case.

                                                  24                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 27 of 49 Page
                                          ID #:3749


   1 grounds that it is premature. The damages Plaintiff suffered will be the subject of
   2 expert testimony.
   3          MindGeek Entity Defendants’ Contentions:                      This interrogatory seeks
   4 information regarding the injuries claimed by Plaintiff. Plaintiff must show “the
   5 MindGeek Defendants’ individual roles in causing her harm” and accordingly that the
   6 MindGeek Entities’ forum specific conduct is related to the injuries she is claiming,
   7 which cannot be determined without an understanding of those injuries. [Dkt. 168 at
   8 2]. Even if Plaintiff claims that damages will be the subject of expert testimony,
   9 Plaintiff can still provide factual information, at least in a general sense, about the
  10 injuries that she is claiming were caused by each of the MindGeek Entities and can
  11 identify those on a lay basis.
  12          Plaintiff’s Contentions:
  13          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  14 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  15 the Court’s inquiry and no additional response is required.10
  16          H.      Interrogatory No. 11
  17          Interrogatory: Describe the support for your allegations in Paragraphs 11, 31,
  18 48, 105, 129, 137, 141-157, 310, 358, 372, 378, 423, 426, 447, and 456 of the First
  19 Amended Complaint that Defendants used a “byzantine international corporate
  20 structure of hundreds of sham shell corporations,” that the “entire structure is a sham
  21 and the alter ego of the individual defendants,” and that Defendants used “sham shell
  22 companies” to “launder cash out of the organization to criminal partners and
  23 Enterprise members (especially the Bro-Club).”
  24          Response: Plaintiff objects to this Interrogatory on the grounds that it is vague,
  25
  26   10
         Plaintiff does not waive her specific objections to Interrogatory No. 10, or any of the other
       interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
  27   interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
       needs of the case, prematurely seeks witness and evidence lists prior to trial, and otherwise seeks
  28   privileged information.

                                               25                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 28 of 49 Page
                                          ID #:3750


   1 ambiguous, and seeks information within the MindGeek Entity Defendants’
   2 possession, custody, or control or more easily accessible to the MindGeek Entity
   3 Defendants. Plaintiff further objects to this interrogatory on the grounds that it
   4 improperly seeks discovery of attorney work product and other privileged material
   5 relating to Plaintiff’s investigation of defendants’ wrongful conduct.
   6          MindGeek Entity Defendants’ Contentions:                       Interrogatory 11 seeks
   7 information concerning Plaintiff’s claim that the MindGeek Entities’ business
   8 operations are purportedly “a sham.” Plaintiff objects to providing any information
   9 in response to this interrogatory on the grounds that it is vague and ambiguous, but it
  10 uses Plaintiff’s own language from the First Amended Complaint and presumably she
  11 understands what she meant when she included those allegations. More vitally, this
  12 information is directly relevant to Plaintiff’s “alter-ego” argument.                      Plaintiff’s
  13 Response claims that the interrogatory “improperly seeks discovery of attorney work
  14 product and other privileged material,” but it is unclear how any privilege could apply
  15 to the underlying information responsive to this request. Evidence showing that the
  16 MindGeek Entities’ business operations are purportedly “a sham” would not be
  17 subject to any applicable privilege. Plaintiff also objects to this Request as seeking
  18 information within the MindGeek Entities’ possession, custody, and control. Even if
  19 the MindGeek Entities might possess certain information, they cannot tie that
  20 information to Plaintiff’s alter-ego argument unless she identifies it.
  21          Plaintiff’s Contentions:
  22          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  23 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  24 the Court’s inquiry and no additional response is required.11
  25
  26   11
         Plaintiff does not waive her specific objections to Interrogatory No. 11, or any of the other
       interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
  27   interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
       needs of the case, prematurely seeks witness and evidence lists prior to trial, and otherwise seeks
  28   privileged information.

                                               26                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22    Page 29 of 49 Page
                                     ID #:3751


   1         I.     Interrogatory No. 12
   2         Interrogatory: Describe the support for your allegations in Paragraphs 26-28
   3 and 31-32 of the First Amended Complaint that MindGeek “operates as a singular
   4 business entity” and disregards corporate formalities.
   5         Response: Plaintiff objects to this Interrogatory on the grounds that it is vague,
   6 ambiguous, and seeks information within the MindGeek Entity Defendants’
   7 possession, custody, or control or more easily accessible to the MindGeek Entity
   8 Defendants. Plaintiff further objects to this Interrogatory on the grounds that it
   9 improperly seeks discovery of attorney work product and other privileged material
  10 relating to Plaintiff’s investigation of defendants’ wrongful conduct.
  11         MindGeek Entity Defendants’ Contentions:                Interrogatory 12 seeks
  12 information concerning Plaintiff’s claim that the MindGeek Entities operate as a
  13 singular business entity. Plaintiff has objected to providing any information in
  14 response to this interrogatory on the grounds that it is vague and ambiguous, but it
  15 uses Plaintiff’s own language from the First Amended Complaint and presumably she
  16 understands what she meant when she included those allegations. This information
  17 is directly relevant to Plaintiff’s “alter-ego” argument. To the extent Plaintiff objects
  18 on the grounds that the interrogatory “improperly seeks discovery of attorney work
  19 product and other privileged material,” those objections are meritless. It is unclear
  20 how any privilege could apply to the underlying information responsive to this
  21 request. Evidence showing that the MindGeek Entities operate as a single business
  22 entity would not be subject to any applicable privilege.
  23         Plaintiff’s Contentions:
  24         For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  25 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  26
  27
  28

                                            27                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 30 of 49 Page
                                          ID #:3752


   1 the Court’s inquiry and no additional response is required.12
   2          J.      Interrogatory No. 13
   3          Interrogatory: Identify all of the “MindGeek insiders,” MindGeek-related
   4 “whistleblowers,” and former MindGeek employees with whom Plaintiff has had any
   5 interaction including, but not limited to, those referenced in Paragraphs 9, 53, 71, 72,
   6 73, 74, 76, 79, 80, 81, 85, 86, 114, 134, 136, 138, 141, 142, 143, 146, 147, 167, 168,
   7 171, 175, 177, 189, 191, 192, 193, 200, 201, 206, 208, 210, 273, 280, 306, 311, 313,
   8 321, and 327 of the First Amended Complaint.
   9          Response: Plaintiff objects to this Interrogatory on the grounds that it is overly
  10 broad, unduly burdernsome [sic], and not reasonably calculated to lead to the
  11 discovery of admissible evidence. Plaintiff further objects to this Interrogatory on the
  12 grounds that it improperly seeks discovery of attorney work product and other
  13 privileged material relating to Plaintiff’s investigation of defendants’ wrongful
  14 conduct.
  15          MindGeek Entity Defendants’ Contentions: Interrogatory 13 asks Plaintiff to
  16 identify the individuals she refers to as “MindGeek insiders,” “MindGeek-related
  17 ‘whistleblowers,’” and “former MindGeek employees” with whom Plaintiff has had
  18 any interaction and who purportedly supplied information that was used in the First
  19 Amended Complaint. Plaintiff objects to providing any information in response to
  20 this interrogatory on the grounds that it is not reasonably calculated to lead to the
  21 discovery of admissible evidence. Plaintiff’s objection to the request on this basis is
  22 improper since that is no longer the standard under Rule 26. In any event, the request
  23 seeks material that is relevant and proportional to the needs of the case. These
  24 individuals are the apparent source of Plaintiff’s erroneous allegation that MindGeek
  25
  26   12
         Plaintiff does not waive her specific objections to Interrogatory No. 12, or any of the other
       interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
  27   interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
       needs of the case, prematurely seeks witness and evidence lists prior to trial, and otherwise seeks
  28   privileged information.

                                               28                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1        Filed 11/30/22      Page 31 of 49 Page
                                          ID #:3753


   1 operates as a single business entity that fails to observe corporate formalities.
   2 Accordingly, the MindGeek Entities need to understand who these individuals are in
   3 order to seek discovery from them and determine the basis for these claims. Plaintiff
   4 also objects on the grounds that the Interrogatory “improperly seeks discovery of
   5 attorney work product and other privileged material,” but the identity of individuals
   6 who allegedly supplied information to Plaintiff’s counsel or investigators cannot
   7 possibly be subject to any privilege.
   8          Plaintiff’s Contentions:
   9          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  10 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  11 the Court’s inquiry and no additional response is required.13
  12 IV.      DOCUMENTS REQUESTS AND RESPONSES AT ISSUE
  13          The following document requests were served on Plaintiff on September 19,
  14 2022.
  15          A.      Request No. 1
  16          Request: All Documents relating to communications between Plaintiff and the
  17 MindGeek Entities that refer to or relate to Content you allege was posted to a website
  18 operated by a MindGeek Entity.
  19          Response: Plaintiff objects to the Request on the grounds that it is overly broad,
  20 ambiguous, unduly burdensome, not reasonably calculated to lead to the discovery of
  21 admissible evidence, and not proportional to the needs of the case, particularly with
  22 respect to the terms “MindGeek Entities” and “relates to” which are not defined in the
  23 Requests. Plaintiff further objects to the Request on the grounds that it seeks
  24 production of documents and information in the possession of Defendants or equally
  25   13
         Plaintiff does not waive her specific objections to Interrogatory No. 13, or any of the other
  26   interrogatories and reserves her right to set forth in further detail Plaintiff’s objections to the
       interrogatory on the grounds that Defendants’ request is overly broad, not proportionate to the
  27   needs of the case, prematurely seeks witness and evidence lists prior to trial, and otherwise seeks
       privileged information. Ferruza v. MTI Tech. No. SACV 00-0745 DOC, 2002 WL 32344347
  28   (C.D. Cal. June 13, 2002).

                                               29                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 32 of 49 Page
                                            ID #:3754


   1 accessible to Defendants. Plaintiff also objects on the grounds that the Requests seek
   2 information protected by the attorney-client privilege and work product doctrine.
   3             Subject to and without waiving any and all objections, Plaintiff will conduct a
   4 reasonable search and will produce non-privileged documents within her possession,
   5 custody, and control constituting communications between Plaintiff and any entity
   6 owned by MindGeek concerning content posted on a MindGeek platform without
   7 Plaintiff’s consent.
   8             MindGeek Entity Defendants’ Contentions:                      Request No. 1 seeks
   9 communications between Plaintiff and the MindGeek Entities that refer or relate to
  10 Content Plaintiff claims was posted to a website operated by a MindGeek Entity.
  11 Plaintiff’s Response indicates that she will be producing documents but only those
  12 “concerning content posted on a MindGeek platform without Plaintiff’s consent.”
  13 This limitation is improper.              To the extent Plaintiff has documents relating to
  14 communications with any MindGeek Entity related to Content posted with consent,
  15 those must be produced as well as documents related to Content posted without
  16 consent, since all of those documents are relevant to, among other things, the
  17 MindGeek Entities’ purported jurisdictional contacts.
  18             Plaintiff’s Contentions:
  19             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  20 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  21 the Court’s inquiry and no additional response is required.14
  22             B.      Request No. 2
  23             Request: For each piece of Content you allege was posted to a website operated
  24 by a MindGeek Entity, Documents sufficient to identify any titles, tags, categories,
  25 flags and/or comments associated with the Content, as well as all past or present URLs
  26
       14
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 1 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks privileged information.

                                                  30                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 33 of 49 Page
                                     ID #:3755


   1 at which any piece of Content can be or could have been accessed.
   2         Response: Plaintiff objects to this Request on the grounds that it is vague and
   3 ambiguous, particularly with respect to the term “MindGeek Entities” which is not
   4 defined. Plaintiff further objects to the Request on the grounds that it seeks production
   5 of documents and information in the possession of Defendants or third parties or
   6 equally accessible to Defendants, or otherwise outside of Plaintiff’s custody or
   7 control.
   8         Subject to and without waiving any and all objections, Plaintiff will conduct a
   9 reasonable search and will produce non-privileged documents within her possession,
  10 custody, and control responsive to Request No. 2.
  11         MindGeek Entity Defendants’ Contentions: Request No. 2 asks for documents
  12 sufficient to identify any titles, tags, categories, flags and/or comments associated
  13 with the Content Plaintiff alleges was posted to a MindGeek website along with any
  14 URLs where Content could be accessed. Plaintiff objects to this request on the
  15 grounds that “it seeks production of documents and information in the possession of
  16 Defendants or third parties or equally accessible to Defendants.” As discussed above,
  17 the MindGeek Entities have not been able to locate all of the Content Plaintiff alleges
  18 was posted to websites operated by the MindGeek Entities, including the video
  19 referred to in paragraphs 258-263 of the Amended Complaint. To the extent Plaintiff
  20 has this information, it is important it be produced so the MindGeek Entities can
  21 identify the Content Plaintiff claims was uploaded and in turn review the source of
  22 that Content and all related information for the purpose of analyzing personal
  23 jurisdiction.
  24         Plaintiff’s Contentions:
  25         For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  26 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  27
  28

                                            31                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 34 of 49 Page
                                            ID #:3756


   1 the Court’s inquiry and no additional response is required.15
   2             C.      Request No. 3
   3             Request: All Documents that refer or relate to Plaintiff’s or any other person’s
   4 participation in the creation, sale, and/or uploading of Content.
   5             Response: Plaintiff objects to this Request on the grounds that it is overly
   6 broad, unduly burdensome, ambiguous, and is not reasonably calculated to lead to the
   7 discovery of admissible evidence insofar as it is unrelated to any claim or defense in
   8 this action. Plaintiff further objects to the Request to the extent it calls for the
   9 production of material that is protected by the attorney-client privilege, work product
  10 doctrine, or other applicable privilege. Plaintiff also objects to the Request to the
  11 extent the information requested is in the possession of Defendants or equally
  12 accessible to Defendants. Plaintiff objects to this Request to the extent it would violate
  13 a third party’s privacy rights.
  14             Subject to and without waiving any and all objections, Plaintiff will conduct a
  15 reasonable search and will produce non-privileged documents, to the extent any
  16 documents exist, within her possession custody, and control that concern non-
  17 consensual content and/or the non-consensual upload of content containing Plaintiff’s
  18 images or likeness where that content serves as a basis for any of Plaintiff’s claims in
  19 this matter.
  20             MindGeek Entity Defendants’ Contentions: This request seeks documents that
  21 refer or relate to Plaintiff’s or any other person’s participation in the creation, sale,
  22 and/or uploading of Content. Plaintiff’s Response indicates that she will be producing
  23 documents but only those “that concern non-consensual content and/or the non-
  24 consensual upload of content containing Plaintiff’s images or likeness,” and only
  25 those concerning “content [that] serves as a basis for any of Plaintiff’s claims in this
  26
       15
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 2 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks privileged information.

                                                  32                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 35 of 49 Page
                                            ID #:3757


   1 matter.” As discussed above, limitation of production to documents concerning non-
   2 consensual content is improper. To the extent Plaintiff or a third-party has posted
   3 content to MindGeek’s websites with consent, those must be produced. So too must
   4 documents concerning content that Plaintiff has chosen not to base her claims upon.
   5 These documents are relevant to, among other things, the MindGeek Entities’
   6 purported jurisdictional contacts and the harm Plaintiff claims she suffered as a result
   7 of Defendants’ forum-related actions. Plaintiff further objects to this request to the
   8 extent “the information requested is in the possession of Defendants or equally
   9 accessible to Defendants” but to the extent Plaintiff has this information, it is
  10 important that it be produced so the MindGeek Entities can identify the Content
  11 Plaintiff claims was uploaded and in turn review the source of that Content and all
  12 related information for the purpose of analyzing personal jurisdiction.
  13             Plaintiff’s Contentions:
  14             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  15 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  16 the Court’s inquiry and no additional response is required.16
  17             Information or communications about any consensual content posted of the
  18 Plaintiff after her age of majority with her consent is plainly irrelevant to the limited
  19 question of whether this Court has personal jurisdiction over MindGeek S.a.r.l and
  20 MG Premium Ltd and would otherwise violate Plaintiff’s Constitutional right to
  21 privacy.17
  22             D.      Request No. 4
  23   16
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 3 or any of
  24 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  25 and otherwise seeks privileged information.
  26 17 Plaintiff’s constitutionally protected right to privacy “is implicated when [she] is forced to
       disclose information regarding personal sexual matters.” Balbiani v. Chester Public Utility
  27 District, Inc., No. 2:20-cv-2310-TLN-DMC, 2022 WL 3594385, at *4 (E.D. Cal. Aug. 23, 2022)
       (citing Thorne v. City of El Segundo, 726 F.2d 459 (9th Cir. 1983), cert denied, 469 U.S. 979
  28 (1984)).

                                                  33                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 36 of 49 Page
                                     ID #:3758


   1         Request: All Documents that refer to, relate to, or memorialize Plaintiff’s
   2 discovery of the uploading of Content allegedly posted to a website operated by a
   3 MindGeek Entity.
   4         Response: Plaintiff objects to this Request on the grounds that it is overly
   5 broad, unduly burdensome, and ambiguous, including with respect to the use of the
   6 term “MindGeek Entity” which is not defined. Plaintiff objects to the definition of the
   7 term “Content” to the extent it seeks to encompass, without limitation to time, material
   8 protected by Plaintiff’s constitutional, statutory, and/or common law right to privacy.
   9 Plaintiff further objects to the Request to the extent it calls for the production of
  10 material that is protected by the attorney-client privilege, work product doctrine, or
  11 other applicable privilege. Plaintiff also objects to the Request to the extent the
  12 information requested is in the possession of Defendants or equally accessible to
  13 Defendants.
  14         Subject to and without waiving any and all objections, Plaintiff will conduct a
  15 reasonable search and will produce the following non-privileged documents within
  16 her possession, custody, and control, to the extent any exist: (1) communications
  17 between Plaintiff and any Defendant and any entity owned by MindGeek concerning
  18 content posted to a MindGeek owned tube site without Plaintiff’s consent; (2) requests
  19 to any Defendant or any MindGeek owned tube site to remove, take down, or
  20 otherwise eliminate non-consensual content of Plaintiff and any responses therefrom;
  21 and (3) any reports made to law enforcement.
  22         MindGeek Entity Defendants’ Contentions: Request No. 4 seeks documents
  23 concerning Plaintiff’s discovery that Content had been uploaded to a website operated
  24 by a MindGeek Entity. Plaintiff has impermissibly narrowed her Response to this
  25 request to include only communications between Plaintiff and Defendants concerning
  26 Content posted to a MindGeek owned “tube site” without Plaintiff’s consent, removal
  27 requests, and reports made to law enforcement. This is insufficient. The MindGeek
  28 Entities are entitled to all information in Plaintiff’s possession concerning how she

                                            34                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 37 of 49 Page
                                            ID #:3759


   1 discovered Content depicting her was uploaded to a website operated by a MindGeek
   2 Entity. That information is directly relevant to understanding how the content was
   3 created and uploaded, which the MindGeek Entities need to know to determine,
   4 among other things, who Plaintiff is alleging the MindGeek Entities were in a venture
   5 with for jurisdictional purposes. It is also unclear why Plaintiff is limiting this request
   6 only to content posted to a “MindGeek owned tube site” as opposed to all MindGeek
   7 websites. Plaintiff is arguing elsewhere that content depicting her was uploaded to
   8 paysites as well as tube sites other than Pornhub which would potentially be relevant
   9 to MG Premium’s specific contacts if true. See, e.g., Fleites, 2022 WL 4455558, *2
  10 n.3. If there was any Content uploaded to sites other than Pornhub, discovery as to
  11 that material is appropriate.
  12             Plaintiff’s Contentions:
  13             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  14 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  15 the Court’s inquiry and no additional response is required.18 The manner in which
  16 Plaintiff learned her CSAM was uploaded to a website operated by MindGeek has no
  17 bearing or relevance to the Court’s jurisdictional analysis.
  18             E.      Request No. 5
  19             Request: All communications between Plaintiff and Trafficker(s).
  20             Response: Plaintiff objects to the Request on the grounds that it is overly broad,
  21 is unlimited in duration, is not proportional to the needs of the case, is not reasonably
  22 calculated to lead to the discovery of admissible evidence, and is unrelated to any
  23 claim or defense in this action. Plaintiff further objects to the Request to the extent
  24 Defendants’ definition of “Trafficker” is overly broad and improper. Plaintiff will
  25 construe the term “Trafficker” as previously set forth in paragraph 14 of Plaintiff’s
  26
       18
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 4 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks privileged information.

                                                  35                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS       Document 223-1     Filed 11/30/22    Page 38 of 49 Page
                                      ID #:3760


   1 objections above. Plaintiff also objects to the Request to the extent it is duplicative of
   2 Defendants’ Request for Production No. 4.
   3         Subject to and without waiving any and all objections, Plaintiff will conduct a
   4 reasonable search and will produce the following non-privileged documents within
   5 her possession, custody, and control, to the extent any exist: (1) communications
   6 between Plaintiff and the individual referred to as Plaintiff’s “high school boyfriend”
   7 in paragraph 258 of the amended complaint concerning any material Plaintiff believes
   8 was unlawfully or non-consensually manufactured, uploaded, or reuploaded to any
   9 website operated by any entity owned by MindGeek and which serves as the basis for
  10 any of Plaintiff’s causes of action in this matter; and (2) communications between
  11 Plaintiff and the individual referred to as “the older male” or “older man” in
  12 paragraphs 267 and 269 of the amended complaint concerning any material Plaintiff
  13 believes was unlawfully or non-consensually manufactured, uploaded, or reuploaded
  14 to any website operated by any entity owned by MindGeek and which material serves
  15 as the basis for any of Plaintiff’s causes of action in this matter.
  16         MindGeek Entity Defendants’ Contentions:                This request seeks all
  17 communications between Plaintiff and those she claims are “Traffickers.” Plaintiff
  18 has impermissibly narrowed her Response to this request to include only
  19 communications between Plaintiff and the “high school boyfriend” referred to in
  20 paragraph 258 and “the older male” referred to in paragraphs 267 and 269 of the First
  21 Amended Complaint as opposed to everyone she claims was a Trafficker. This is
  22 insufficient. The MindGeek Entities are entitled to all communications in Plaintiff’s
  23 possession between her and anyone she alleges was involved in her trafficking. That
  24 information is directly relevant to understanding how the Content was created which
  25 the MindGeek Entities need to know to determine, among other things, who Plaintiff
  26 is alleging that the MindGeek Entities were in a venture with for jurisdictional
  27 purposes. Plaintiff’s attempt to limit production to documents concerning non-
  28 consensual Content that serves as the basis for her claims is also improper for the

                                             36                     CASE NO. 2:21-cv-04920
                         MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 39 of 49 Page
                                            ID #:3761


   1 reasons discussed above.
   2             Plaintiff’s Contentions:
   3             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   4 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
   5 the Court’s inquiry and no additional response is required.19
   6             F.      Request No. 6
   7             Request: All Documents that refer to, relate to, or constitute Your requests that
   8 a MindGeek Entity remove Content from any website operated by a MindGeek Entity
   9 and/or cease and desist from uploading Content to any website, and any responses
  10 thereto.
  11             Response: Plaintiff objects to the Request on the grounds that it is overly broad,
  12 unduly burdensome, and ambiguous, including with respect to the use of the term
  13 “MindGeek Entity” which is not defined. Plaintiff objects to the definition of the term
  14 “Content” to the extent it seeks to encompass, without limitation to time, material
  15 protected by Plaintiff’s constitutional, statutory, and/or common law right to privacy.
  16 Plaintiff further objects to the Request to the extent it calls for the production of
  17 material that is protected by the attorney-client privilege, work product doctrine, or
  18 other applicable privilege. Plaintiff also objects to the Request to the extent the
  19 information requested is in the possession of Defendants or equally accessible to
  20 Defendants.
  21             Subject to and without waiving any and all objections, Plaintiff will conduct a
  22 reasonable search and will produce non-privileged documents within her possession,
  23 custody, and control, that constitute a content removal request, or a cease-and-desist
  24 request made by Plaintiff to any entity owned by MindGeek, and any responses
  25 thereto.
  26
       19
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 5 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks irrelevant information.

                                                  37                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 40 of 49 Page
                                            ID #:3762


   1             MindGeek Entity Defendants’ Contentions: Request No. 6 asks for documents
   2 that relate to Plaintiff’s Content removal or cease and desist requests made to
   3 MindGeek Entities. Plaintiff has impermissibly narrowed her Response to this
   4 request to include only Content removal requests, cease-and-desist requests, and any
   5 responses thereto made by Plaintiff. But to the extent Plaintiff has removal requests,
   6 cease-and-desist requests, and any responses thereto made or received by third-parties
   7 on her behalf, those communications must be produced as well, consistent with the
   8 definition of “Your” in the MindGeek Entities RFPs.
   9             Plaintiff’s Contentions:
  10             For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  11 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  12 the Court’s inquiry and no additional response is required.20
  13             G.      Request No. 7
  14             Request: All Documents that refer to, relate to, or constitute comments by
  15 Plaintiff on Content uploaded to a site operated by a MindGeek Entity, including
  16 comments relating to Plaintiff’s age or consent, and responses to those requests.
  17             Response: Plaintiff objects to the Request on the grounds that it is overly broad,
  18 unduly burdensome, and ambiguous, including with respect to the use of the term
  19 “MindGeek Entity” which is not defined. Plaintiff objects to the definition of the term
  20 “Content” to the extent it seeks to encompass, without limitation to time, material
  21 protected by Plaintiff’s constitutional, statutory, and/or common law right to privacy.
  22 Plaintiff further objects to the Request to the extent it calls for the production of
  23 material that is protected by the attorney-client privilege, work product doctrine, or
  24 other applicable privilege. Plaintiff also objects to the Request to the extent the
  25 information requested is in the possession of Defendants or equally accessible to
  26
       20
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 6 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks irrelevant information.

                                                  38                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22   Page 41 of 49 Page
                                     ID #:3763


   1 Defendants.
   2         Subject to and without waiving any and all objections, Plaintiff will conduct a
   3 reasonable search and will produce non-privileged documents within her possession,
   4 custody, and control concerning any non-consensual content containing Plaintiff’s
   5 images or likeness responsive to Request No. 7, to the extent any documents exist.
   6         MindGeek Entity Defendants’ Contentions: This request seeks documents that
   7 refer to, relate to, or constitute comments by Plaintiff on Content uploaded to any
   8 MindGeek website.        Plaintiff’s Response indicates that she will be producing
   9 documents but only those “concerning any non-consensual Content containing
  10 Plaintiff’s images or likeness.” This limitation is improper and the response given is
  11 otherwise non-responsive to the request which seeks comments made by Plaintiff on
  12 Content uploaded to webpages operated by a MindGeek Entity. Any comments made
  13 by Plaintiff on Content are potentially relevant to demonstrate jurisdictional contacts
  14 as well as the MindGeek Entities’ understanding of Plaintiff’s age and consent. To
  15 the extent Plaintiff objects on the basis of a “right to privacy” that objection is
  16 improper not only for the reasons discussed above but for the additional reason that
  17 this request seeks comments that were made on a public website. Plaintiff further
  18 objects to this request to the extent “the information requested [is] in the possession
  19 of Defendants or equally accessible to Defendants” but to the extent Plaintiff has this
  20 information, it is important it be produced so the MindGeek Entities can identify the
  21 Content Plaintiff claims was uploaded. As discussed above, Plaintiff must also
  22 produce information regarding Content posted with her consent and cannot limit her
  23 production to Content posted without her consent.
  24         Plaintiff’s Contentions:
  25         For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  26 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
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                                            39                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 42 of 49 Page
                                            ID #:3764


   1 the Court’s inquiry and no additional response is required.21
   2             H.      Request No. 8
   3             Request: All Documents that support any injuries, illnesses, conditions or
   4 harms claimed by Plaintiff in this Action that You allege were caused by the
   5 MindGeek Entities, including but not limited to statements, notes, emails, or
   6 comments that refer to or relate to Plaintiff’s injuries, illnesses, harms, or physical,
   7 emotional, or psychological health status or medical condition.
   8             Response: Plaintiff objects to this Request on the grounds that it is overly
   9 broad, unduly burdensome, and ambiguous, including with respect to the use of the
  10 term “MindGeek Entity” which is not defined, and not likely to lead to the discovery
  11 of admissible evidence. Plaintiff further objects to this Request to the extent it seeks
  12 information protected by the attorney-client privilege, work product doctrine,
  13 common interest privilege, and/or any other applicable privilege or immunity.
  14             Subject to and without waiving any and all objections, Plaintiff will conduct a
  15 reasonable search and produce non-privileged documents within her possession,
  16 custody, and control responsive to this Request, to the extent any documents exist.
  17             MindGeek Entity Defendants’ Contentions: Plaintiff’s response indicates that
  18 she intends to produce responsive documents to this request, but her later submitted
  19 Interrogatory Responses improperly refused to provide any information related to
  20 Plaintiff’s injuries. Plaintiff must show “the MindGeek Defendants’ individual roles
  21 in causing her harm” and accordingly that the MindGeek Entities’ forum specific
  22 conduct is related to the injuries she is claiming, which cannot be determined without
  23 an understanding of those injuries. [Dkt. 168 at 2]. Accordingly, to the extent
  24 Plaintiff continues to withhold these documents, she should be compelled to produce
  25 them.
  26
       21
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 7 or any of
  27 the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
       on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
  28 and otherwise seeks irrelevant information.

                                                  40                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1         Filed 11/30/22      Page 43 of 49 Page
                                          ID #:3765


   1          Plaintiff’s Contentions:
   2          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   3 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
   4 the Court’s inquiry and no additional response is required.22
   5          I.      Request No. 9
   6          Request: All documents that reflect or refer to any financial or reputational
   7 harm, injury, or condition, including any lost job or employment opportunities
   8 Plaintiff claims to have suffered as a result of any alleged wrongdoing by the
   9 MindGeek Entities.
  10          Response: Plaintiff objects to the Request on the grounds that it is overly broad,
  11 unduly burdensome, and ambiguous, including with respect to the use of the term
  12 “MindGeek Entity” which is not defined, and not reasonably likely to lead to the
  13 discovery of admissible evidence. Plaintiff further objects to this Request to the extent
  14 it seeks information protected by the attorney-client privilege, work product doctrine,
  15 common interest privilege, and/or any other applicable privilege or immunity.
  16          Subject to and without waiving any and all objections, Plaintiff will conduct a
  17 reasonable search and produce non-privileged documents within her possession,
  18 custody, and control responsive to this Request, to the extent any documents exist.
  19          MindGeek Entity Defendants’ Contentions: Plaintiff’s response indicates that
  20 she intends to produce responsive documents to this request, but her later submitted
  21 Interrogatory Responses improperly refused to provide any information related to
  22 Plaintiff’s injuries. Plaintiff must show “the MindGeek Defendants’ individual roles
  23 in causing her harm” and accordingly that the MindGeek Entities’ forum specific
  24 conduct is related to the injuries she is claiming, which cannot be determined without
  25
  26   22
         Plaintiff does not waive her specific objections to Request for Production (RFP) No. 8 or any of
       the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
  27   on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
       violates Plaintiff’s privacy rights, prematurely seeks expert witness evidence and trial evidence,
  28   and otherwise seeks irrelevant information.

                                                41                     CASE NO. 2:21-cv-04920
                            MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1         Filed 11/30/22      Page 44 of 49 Page
                                          ID #:3766


   1 an understanding of those injuries. [Dkt. 168 at 2]. Accordingly, to the extent
   2 Plaintiff continues to withhold these documents, she should be compelled to produce
   3 them.
   4          Plaintiff’s Contentions:
   5          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
   6 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
   7 the Court’s inquiry and no additional response is required.23
   8          J.      Request No. 10
   9          Request: All Documents that support your allegation that any MindGeek Entity
  10 uploaded any Content depicting Plaintiff to a website operated by a MindGeek Entity,
  11 including but not limited to Plaintiff’s claim in Paragraph 262 of the First Amended
  12 Complaint that MindGeek “uploaded [videos of Plaintiff] to other tubesites” and
  13 Plaintiff’s assertions in opposition to the MindGeek Entities’ motion to dismiss that
  14 the MindGeek Entities reuploaded Content that had been removed or disabled so that
  15 it re-appeared on any such website.
  16          Response: Plaintiff objects to this Request on the grounds that it is overly
  17 broad, unduly burdensome, and ambiguous, including with respect to the use of the
  18 term “MindGeek Entity” which is not defined, and not likely to lead to the discovery
  19 of admissible evidence. Plaintiff further objects to this Request to the extent it seeks
  20 information protected by the attorney-client privilege, work product doctrine,
  21 common interest privilege, and/or any other applicable privilege or immunity.
  22 Plaintiff further objects to this Request, to the extent the information requested is in
  23 the possession of Defendants or equally accessible to Defendants.
  24          Subject to and without waiving any and all objections, Plaintiff will conduct a
  25
  26   23
         Plaintiff does not waive her specific objections to Request for Production (RFP) No. 9 or any of
       the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the RFP
  27   on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the case,
       violates Plaintiff’s privacy rights, prematurely seeks expert witness evidence and trial evidence,
  28   and otherwise seeks irrelevant information.

                                                42                     CASE NO. 2:21-cv-04920
                            MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS           Document 223-1         Filed 11/30/22     Page 45 of 49 Page
                                          ID #:3767


   1 reasonable search and produce nonprivileged documents responsive to this Request
   2 to the extent any documents exist.
   3          MindGeek Entity Defendants’ Contentions: Plaintiff’s objects to Request No.
   4 10 “to the extent it seeks information protected by attorney-client privilege, work
   5 product doctrine, common interest privilege, and/or any other applicable privilege”
   6 but is unclear how any privilege could apply to documents responsive to this request.
   7 Documents or evidence showing that videos were reuploaded by a MindGeek Entity
   8 would not be subject to any applicable privilege. Plaintiff further objects to this
   9 request to the extent “the information requested is in the possession of Defendants or
  10 equally accessible to Defendants” but as noted above, to the extent Plaintiff has this
  11 information, it is important it be produced so the MindGeek Entities can identify the
  12 Content Plaintiff claims was uploaded. Plaintiff must also produce information
  13 regarding Content posted with her consent and cannot limit her production to Content
  14 posted without her consent.
  15          Plaintiff’s Contentions:
  16          For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  17 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
  18 the Court’s inquiry and no additional response is required.24
  19          K.      Request No. 11
  20          Request: All Documents that support your allegations in Paragraphs 11, 31,
  21 48, 105, 129, 137, 141-157, 310, 358, 372, 378, 423, 426, 447, and 456 of the First
  22 Amended Complaint that Defendants used a “byzantine international corporate
  23 structure of hundreds of sham shell corporations,” that the “entire structure is a sham
  24 and the alter ego of the individual defendants,” and that Defendants used “sham shell
  25
  26   24
         Plaintiff does not waive her specific objections to Request for Production (RFP) No. 10 or any
       of the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the
  27   RFP on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the
       case, prematurely seeks evidence to be presented at trial, and otherwise seeks privileged
  28   information. and trial evidence, and otherwise seeks irrelevant information.

                                               43                     CASE NO. 2:21-cv-04920
                           MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1     Filed 11/30/22      Page 46 of 49 Page
                                     ID #:3768


   1 companies” to “launder cash out of the organization to criminal partners and
   2 Enterprise members (especially the Bro-Club).”
   3         Response: Plaintiff objects to this Request on the grounds that it is overly
   4 broad, unduly burdensome, and ambiguous, including with respect to the use of the
   5 term “MindGeek Entity” which is not defined, and not likely to lead to the discovery
   6 of admissible evidence. Plaintiff further objects to this Request to the extent it seeks
   7 information protected by the attorney-client privilege, work product doctrine,
   8 common interest privilege, and/or any other applicable privilege or immunity.
   9 Plaintiff further objects to this Request, to the extent the information requested is in
  10 the possession of Defendants or equally accessible to Defendants.
  11         Subject to and without waiving any and all objections, Plaintiff will conduct a
  12 reasonable search and produce nonprivileged documents responsive to this Request
  13 to the extent any documents exist.
  14         MindGeek Entity Defendants’ Contentions: Plaintiff objects “to the extent [the
  15 Request] seeks information protected by the attorney-client privilege, work product
  16 doctrine, common interest privilege, and/or any other applicable privilege,” but it is
  17 unclear how any privilege could apply to documents responsive to this request.
  18 Documents or evidence showing that the MindGeek Entities’ business operations are
  19 purportedly “a sham” would not be subject to any applicable privilege. Plaintiff also
  20 objects to this Request “to the extent the information requested is in the possession of
  21 Defendants or equally accessible to Defendants,” but it is unclear what documents
  22 Plaintiff is referring to and she has refused to identify them.
  23         Plaintiff’s Contentions:
  24         For the reasons set forth supra in paragraphs I.B and II.B, Defendants’ requests
  25 are unrelated to the issue of jurisdictional discovery and are therefore not relevant to
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                                            44                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS             Document 223-1        Filed 11/30/22     Page 47 of 49 Page
                                            ID #:3769


   1 the Court’s inquiry and no additional response is required.25
   2 V.          CONCLUSIONS
   3             A.      MindGeek Entity Defendants’ Conclusion
   4             Discovery is a two-way process.             The MindGeek Entities have provided
   5 substantive responses to Plaintiff’s jurisdictional discovery requests, have provided
   6 hundreds of documents comprising thousands of pages, and have attempted to
   7 cooperate with Plaintiff throughout this process. By contrast, Plaintiff has refused to
   8 answer all but one of the MindGeek Entities’ Interrogatories and has not produced a
   9 single document in response to the MindGeek Entities’ requests. Even worse, they
  10 have delayed the filing of this motion through their request for an extension of time
  11 to respond to the Interrogatories that was clearly not for the purpose of responding
  12 substantively to them. Plaintiff should not be rewarded for her dilatory tactics.
  13 Accordingly, the MindGeek Entity Defendants’ Motion should be granted, and
  14 Plaintiff should be ordered to provide full responses to all outstanding Requests and
  15 produce all non-privileged responsive documents as soon as possible and in any event
  16 prior to the close of jurisdictional discovery.
  17             B.      Plaintiff’s Conclusion
  18             The MindGeek Entities seek an unfair advantage over Plaintiff by conditioning
  19 their duty to thoroughly search for and respond to Plaintiff’s discovery requests on
  20 Plaintiff’s provision of merits-based discovery to them. This is impermissible and
  21 Defendants’ requests are irrelevant for the purposes of jurisdictional discovery. It is
  22 Defendants’ actions, policies, and jurisdictional contacts that are subject to the Court’s
  23 jurisdictional discovery order and as such, the discovery propounded on Plaintiff is
  24 irrelevant. Even if Defendants were permitted to conduct jurisdictional discovery as
  25 to Plaintiff, the requests submitted by Defendants go well beyond the scope of
  26
       25
            Plaintiff does not waive her specific objections to Request for Production (RFP) No. 11 or any
  27 of the other RFPs and reserves her right to set forth in further detail Plaintiff’s objections to the
       RFP on the grounds that Defendants’ request is overly broad, not proportionate to the needs of the
  28 case, and otherwise seeks privileged information.

                                                  45                     CASE NO. 2:21-cv-04920
                              MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS      Document 223-1      Filed 11/30/22   Page 48 of 49 Page
                                     ID #:3770


   1 jurisdictionally relevant inquiries and thus, Plaintiff should not be required to provide
   2 the merits-based materials sought by Defendants. This Court should therefore deny
   3 Defendants’ expansive discovery requests and order Defendants to timely comply
   4 with the Court’s jurisdictional discovery order.
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                                            46                     CASE NO. 2:21-cv-04920
                        MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
Case 2:21-cv-04920-WLH-ADS   Document 223-1   Filed 11/30/22    Page 49 of 49 Page
                                  ID #:3771


   1 DATED: November 30, 2022            Respectfully submitted,
   2
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                                         47                     CASE NO. 2:21-cv-04920
                     MINDGEEK ENTITY DEFENDANTS’ MOTION TO COMPEL
